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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA : Hon. Madeline Cox Ai-leo, U.S.D.J.

                          v. : Crim. No. 24-407 (MCA)

 DAVID MCBRIEN, : CONSENT JUDGMENT
                        AND ORDER OF FORFEITURE
                          Defendant. ; (MONEY JUDGMENT).



         On or about March 11, 2025, pursuant to a plea agreement with the United


 States, defendant David McBrien pleaded guilty to the above-referenced Indictment,


 which charged him with conspiracy to commit health care fraud, contrary to 18 U.S.C.


   1347, in violation of 18 U.S.C. § 1349. In the plea agreement, the defendant agreed


 to forfeit all property the defendant obtained that constitutes or is derived, directly

 and indirectly, from gross proceeds traceable to the federal health care offense to


 which he agreed to plead guilty, the value of which was $12,800. In the plea

 agreement, the defendant further acknowledged- that one or more of the conditions


 set forth in 21 U.S.C. § 853(p) exists, and that the United States is therefore entitled

 to forfeit substitute assets in an amount not to exceed $12,800 (the "JVEoney


 Judgment ).


         In the plea agreement, the defendant further waived the requirements of Rules


 32.2 and 43(a) of the Federal Rules of Criminal Procedure regarding notice of the

 forfeiture in the charging instrument, announcement of the forfeiture at sentencing,


 and incorporation of the forfeiture in the judgment; acknowledged he understood that
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 the imposition of the Money Judgment is part of the sentence that may be imposed

 in this case; waived any failure by the Court to advise him of this pursuant to Rule

 ll(b)(l)(J) of the Federal Rules of Criminal Procedure at the guilty plea proceeding;

 and waived any and all claims that the forfeiture constitutes an excessive fine and


 agreed that the forfeiture does not violate the Eighth Amendment. The defendant

 further acknowledged he understood that he has no right to demand that any

 forfeiture of his assets be treated as satisfaction of any fine, restitution, cost of


 imprisonment, or any other penalty the Court may impose upon him in addition to


 forfeiture.


        WHEREAS, the Court having considered the plea agreement, the record as a


 whole, and the applicable law, it is hereby ORDERED, AD JUDGED, AND DEGREED

 THAT:

         1. All property, real and personal, that constitutes or is derived, directly


 and indirectly, from gross proceeds the defendant obtained that are traceable to the


 federal health care offense to which the defendant has pleaded guilty is forfeited to

 the United States, pursuant to 18 U.S.G. § 982(a)(7).

        2. The defendant having acknowledged that one or more of the conditions


 set forth in 21 U.S.C. § 853(p) exists, the United States is entitled to forfeit proceeds

 and/or substitute assets equal to the value of the gross proceeds obtained by the


 defendant, which was $12,800. A money judgment in the amount of $12,800 (the

 "Money Judgment") is hereby entered against the defendant, pursuant to 18 U.S.G.




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 § 982(a)(7) and (b), 21 U.S.C. § 853(p), and Federal Rule of Criminal Procedure

 32.2(b).

        3. All payments on the Money Judgment shall be made by (i) electronic

 funds transfer, as directed by the United States Attorney's Office; or (ii.) postal money

 order, bank or certified check, made payable, in this instance to the United States


 Marshals Service, and delivered to the United States Attorney's Office, District of

 New Jersey, Attn: Asset Forfeiture Staff, 970 Broad Street, 7th Floor, Newark, New


 Jersey 07102, and shall indicate the defendant s name and case number on the face


 of the check.


       4. Until the defendant is sentenced, the United States Marshals Service


 shall deposit all payments on the Money Judgment in its Seized Assets Deposit

 Account. After the defendant is sentenced and the Judgment is entered on the docket,


 all payments on the Money Judgment shall be forfeited to the United States of

 America as substitute assets, pursuant to 21 U.S.C. § 853(p), and shall be deposited

 in the Assets Forfeiture Fund.


        5. Pursuant to Federal Rule of Criminal Procedure 32.2(b)(3) and 21 U.S.C.

 § 853(n), upon entry of this Order, and until the Money Judgment is fully satisfied,

 the United States Attorney s Office is authorized to conduct any discovery needed to

 identify, locate, or dispose of assets to satisfy the Money Judgment, or in connection


 with any petitions filed pursuant to 21 U.S.C. § 853(n), including depositions,

 interrogatories, requests for production of documents, and the issuance of subpoenas.




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           6.   This Order of Forfeiture shall be part of the sentence of the defendant,

  and shall be included in the judgment of conviction therewith.

           7.   The Clerk of the Court is directed to enter a Criminal Forfeiture Money

  Judgment against the defendant in favor of the United States in the amount of

  $12,800.

           8.   This Court shall retain jurisdiction to enforce this Order and to amend

  it as necessary.

  Dated:



                                          United States District Judge


  The undersigned hereby consent to                                      :i}-/?-25
  the form and entry of this Order:

  JOHN GIORDANO
  United States Attorney


                                                       Dated: _S_/ !_I   /_J._5__
  By: KATHERINE M. ROMANO
      JESSICA R. ECKER
      Assistant United States Attorneys


                                                       Dated:\.� /29c{) 1
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Attorney for Defendant David McBrien


                                                       Dated:     3/ l 1 )J5 •
  DAVID MCBRIEN, Defendant




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